Case 2:02-cv-02177-.]PI\/|-STA Document 80 Filed 05/20/05 Page 1 of 2 Page|D 159

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IN THE UNITED sTATEs DISTRICT coURT F‘ -ED l f @"- -~
WESTERN DISTRICT oF TENNESSEE _
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RUBE§;;'€' if`~'i. 35 T§"`s€')l.l{')

DONALD R. DEPRIEST, ) CLE?~H<,. l'§ :_"J:S;`>T. CT.

) \rJ_t.`). O.t-‘ 'a‘i\.:! r-.,il'£l';zr:HlS
Plaintiff, )
)

v. ) Civil Action No. 2:02-2177

)
ELLEN H. HARDYMON and )
MSB FINANCIAL SERVICES )
CORPORATION, )
)
Defendants. )

 

ORDER GRANTING MOTION FOR ONE-WEEK EXTENSION OF RULE 6(b) AND
RULE 54(d)(2)(B) DEADLINE FOR FILING MOTION FOR ATTORNEY'S FEES

 

This matter having come before the Court upon the Motion of Defendants Ellen H.
Hardymon and MSB Financial Services Corporation, for an extension of one week of the deadline
established by Federal Rule of Civil Procedure 54(d)(2)(B) for the filing of a claim for attorney‘s fees
and related non-taxable expenses, and the Court having found that Said Motion is Well taken,

It is hereby ORDERED that the Defendants Ellen H. Hardymon and MSB Financial
Services Corporation shall have an additional seven (7) days from the entry of this order in order to

file a Written motion claiming for attorney's fees and related non-taxable expenses pursuant to
Federal Rule of Civil Procedure 54(d)(2)(B).
IT IS SO ORDERED.

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J;\02-044\0RDER GRANTtNG Mo'noN FoR EerNsIoN.os-I s-os.wpd

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.1 effrey A. Yeager

SQUIRE SANDERS & DEMPSEY LLP
1300 Huntington Center

41 S. High Street

Columbus, OH 43215

Keith Shumate

SQUIRE SANDERS & DEMPSEY LLP
1300 Huntington Center

41 S. High Street

Columbus, OH 43215

.1 ohn Marshall J ones

BOURLAND HEFLIN ALAREZ & 1\/1[NOR
5400 Poplar Avenue

Ste. 100

1\/1emphis7 TN 38119

Williarn M. Jeter

LAW OFFICE OF WILLIAM .TETER
35 Union Ave.

Ste. 300

1\/1emphis7 TN 38103

.1 ohn .1. Heflin

BOURLAND HEFLIN ALAREZ & 1\/1[NOR
5400 Poplar Avenue

Ste. 100

1\/1emphis7 TN 38119

Robert K. Alvarez

BOURLAND HEFLIN ALAREZ & 1\/1[NOR
5400 Poplar Avenue

Ste. 100

1\/1emphis7 TN 38119

Honorable .1 on McCalla
US DISTRICT COURT

